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                                      UNITED STATES DISTRICT COURT

                                              STATE OF OREGON

                                               EUGENE DIVISION

: James-Brent: Alvarez.                                       Case No. 6:19-cv-01071-AA

                 Plaintiff,                                   PLAINTIFFS’ REPLY TO DEFENDANT’S
                                                              RESPONSE TO PLAINTIFF’S OBJECTION’S
       v.                                                     AND MOTION FOR LEAVE TO AMEND
                                                              THE COMPLAINT A THIRD TIME.
Luke Sitts, et al.
                                                              REQUEST FOR ORAL ARGUMENT
                     Defendants.

                     Plaintiff: James-Brent: Alvarez, appearing specially and not generally, respectfully,
requests the Court deny defendant’s request to deny, or in the alternative, strike Plaintiff’s Objection to
the Court’s Opinion and Order’s and Motion for Leave to Amend the Complaint a Third-Time filed (the
“the pleading”) on November 2, 2020 (ECF No. 72) (the “response”).

                                              I.       ARGUMENT

                     Defendant’s claim plaintiff filed the pleading erroneously under Fed. R. of Civ. P. 46,
instead Rule 59 or 60 and request the pleading be denied or stricken from the record for procedural error.
However, Plaintiff is Pro Per (not Pro Se). Plaintiff has not waived any of his rights, and further, “All
laws which are repugnant to the Constitution are null and void” pursuant to Marbury vs Madison, 5 US (1
Cranch) 137, 174, 176, (1803) which has been the standard precedence for nearly 220 years. Thereby any
law, procedure, or rule that would deprive Plaintiff of the ability to obtain legal remedy for injury of
constitutional rights are null and void.
                     Congruently, the Court should not deny or strike the pleading based on a procedural error
because Plaintiff is not to be held to the procedures that are meant for attorneys. Moreover, Defendants’
acknowledge this fact throughout their pleadings. Although the pleading is not applicable under Fed. R.
of Civ. P. 46, the pleading is applicable under Fed. R. of Civ. P. 60 as set forth below.

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                 First, the pleading meets the requirements of Fed. R. of Civ. P. 60(b)(1) – mistake,
because the pleading points out the Court’s Opinion and Order prejudicially presumes jurisdiction under
Oregon Revised Statutes (“ORS” in citations) 810.010 for the defendants’, and thereby, deprives Plaintiff
of his constitutional right to travel. Plaintiff challenged jurisdiction during his detainment by Defendants’.
“Jurisdiction can be challenged at any time,” and “Jurisdiction, once challenged, cannot be assumed and
must be decided.” Basso v. Utah Power & Light Co., 395 F 2d 906, 910. Defendants’ failed to prove
jurisdiction upon request by the Plaintiff. Further, the Lane Co. Cir. Court and Eugene Municipal Court
did not docket the Defendant’s traffic citations because the defendant’s lacked jurisdiction. “Once
challenged, jurisdiction cannot be assumed, it must be proved to exist.” Stuck v. Medica1 Examiners, 94
Ca 2d 751. 211 P2d 289.
                 Therefore, this clear error of prejudicially presuming jurisdiction for the Defendant’s in
the Court’s opinions and orders needs to be corrected by the Court to prevent manifest injustice to the
Plaintiff’s constitutional rights to due process and equal protection of the laws. The “Court must prove on
the record, all jurisdiction facts related to the jurisdiction asserted.” Lantana v. Hopper,102 F. 2d 188
(1939); Chicago v. New York, 37 F. Supp. 150. In order to prove jurisdiction, there must be a contract, for
“It is impossible to prove jurisdiction exists absent a substantial nexus with the state, such as voluntary
subscription to license. All jurisdictional facts supporting claim that supposed jurisdiction exists must
appear on the record of the court.” Pipe Line v Marathon, 102 S. Ct. 3858 (1982).
                 Second, the pleading meets the requirements of Fed R. of civ. P. 60(b)(4) – the judgment
is void, because the Court’s opinions and orders deprive the Plaintiff of privileges and immunities
pursuant to his constitutional rights to travel, to be free of unreasonable search and seizure, to due
process, to remain silent, and to have council present before responding to questions. Consequently, the
Court’s opinions and orders are void. [A] “Void judgment is one which has no legal force or effect
whatever, it is an absolute nullity, its invalidity may be asserted by any person whose rights are affected at
any time and at any place and it need not be attacked directly but may be attacked collaterally whenever
and wherever it is interposed.” City of Lufkin v. McVicker, 510 S.W. 2d 141 (Tex. Civ. App. – Beaumont
1973) and “A void judgment is one which, from its inception, is and forever continues to be absolutely
null, without legal efficacy, ineffectual to bind the parties or to support a right, of no legal force and effect
whatever, and incapable of enforcement in any manner or to any degree.” Loyd v. Director, Dept. of
Public Safety, 480 So. 2d 577 (Ala. Civ. App. 1985).
                 In Sum, the Court should consider the pleading as a Motion for reconsideration under
Rule 60(b)(1) and (4), or in the alternative, should allow Plaintiff leave to amend the pleading so that it is
applicable to Rule 60(b). Plaintiff being deprived of his constitutional rights by the Court’s opinions and
orders are extraordinary circumstances for reconsideration.

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                                                 II.     NOTICE

                 If the Court fails to timely correct its error upon this “Notice”, the Court will lose
jurisdiction and become liable for suit under 42 U.S. Code § 1983. “Not every action by any judge is in
exercise of his judicial function. It is not a judicial function for a Judge to commit an intentional tort even
though the tort occurs in the Courthouse, when a judge acts as a Trespasser of the Law, when a judge does
not follow the law, the judge loses subject matter jurisdiction and [t]he Judge's orders are void, of no legal
force or effect" Yates v. Village of Hoffman Estates, Illinois, 209 F. Supp. 757 (N.D. Ill. 1962). “Where a
court failed to observe safeguards, it amounts to denial of due process of law, court is deprived of juris.”
Merritt v. Hunter, C.A. Kansas 170 F. 2d 739.

                                          III.         CONCLUSION

                 For the reasons stated above, Plaintiff, respectfully requests the Court treat the pleading
as a motion for reconsideration under Rule 60(b)(1) and (4), or in the alternative, allow the Plaintiff
leave to correct deficiencies in the pleading.

                 DATED this 25rd day of November, 2020.

                                                                    THE PLAINTIFF.

                                                                    s/: James-Brent: Alvarez. UCC 1 -308
                                                                    : James-Brent: Alvarez.
                                                                    Postmaster: RA535207145US




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                                      CERTIFICATE OF SERVICE

       I hereby certify that on November 25, 2020, I served the foregoing Plaintiffs’ Reply to
Defendant’s response to Plaintiff’s Objections and Motion for Reconsideration on:

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by the following indicated method of service set forth below:

        Email: as agreed on by all parties involved during the Covid-19 situation, until either party
terminates the agreement.

                                                          s/James-Brent: Alvarez UCC 1-308
                                                          James-Brent: Alvarez
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